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                        IN THE UNITED STATE DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF OKLAHOMA


Gary Snow, in his capacity as the              )
Personal Representative of the Estate of       )
J.B., Deceased,                                )
                                               )
                      Plaintiff                )
                                               )
vs.                                            )     Case No. CIV 10-486-RAW
                                               )
HOC Industries, Inc., Dollar General           )
Corporation, Berry Plastics Corporation        )
Kerr Group, LLC                                )
                                               )
                      Defendants.              )

                                JOINT STIPULATION OF
                          PARTIAL DISMISSAL WITH PREJUDICE

       COME NOW Plaintiff, Gary Snow is his capacity as the Personal Representative of the

Estate of J.B., and Defendant, Dollar General Corporation and through their respective

undersigned counsel, and hereby stipulate and agree that all claims between the aforementioned

parties in the above-captioned and numbered case be dismissed in their entirety with prejudice

and with each party to bear its own attorney’s fees and costs.

       This dismissal does not impact and/or alter any claims between Plaintiff and the

remaining Defendant, HOC Industries, Inc.




                                             __/s/ Patrick Carr__________________
                                             (Signed by Defendant’s Attorney with permission
                                             of Plaintiff’s Attorney)
                                             PATRICK E. CARR, OBA #1506
                                             TYE H. SMITH, OBA #44595
                                             A. LAURIE KOLLER, OBA #16857
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                                CERTIFICATE OF SERVICE

        I hereby certify that on January 12, 2012, I electronically transmitted the foregoing
document to the Clerk of Court using the ECF filing and transmittal of a notice of Electronic
Filing to the following ECF registrants (names only are sufficient):

A. Laurie Koller
Andrew Downing
Ann E. Allison
Brian Brandes
Denise Dickerson
Gary W. Farabough
Jeffrey A. Curran
John L. Branum
Jonathan M. Menuez
Leslie Lynch
Michael E. Carr
Patrick E. Carr
Richard E. Harrison
Ted J. Pasley
Tye H. Smith
Warren E. Mouledouz, III

                                                    _____/s/ Richard Harrison______________
